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UNITED STATES DISTRICT COHRT~ ;-\
DISTRICT OF C()NNECTICUT '

 

KONRAD KORZENIOWSKI, l !CIVIL AC'i`ION NO.
Plaintiff, :

V.

NISSAN MOTOR ACCEPTANCE CORPORATION,

Defendant. : APRIL 15, 2009

 

NOTICE OF APPEARANCE
T() THE CLERK OF COURT:
Please enter the appearance of the undersigned counsel, Williarn J. O'Sullivan, on behalf 0f

the defendant, Nissan Motor Acceptance Corporation, in the above-captioned matter.

DEFENDANT,
NISSAN MOTOR
ACCEPTANCE CORPORATION

Will`i'am J. O'Sdnivan (5¥68452)
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CERTIFICATION

I hereby certify that on April 15, 2009, a copy of the foregoing Was mailed, postage
prepaid, to the following pro Se party of record:

Mr. Konrad Korzeniowski
51 Rackliffe Drive

NeW Britain, CT 06051
(pro se plaintiff)

/?A?J%/~

Winiam J. otsunivan

